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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                         GREAT FALLS DIVISION


UNITED STATES OF AMERICA,                      Cause No. CR 14-96-GF-BMM

            Plaintiff,

      vs.                                                 ORDER

TERRY LEROY BRASDA,

            Defendant.


      On August 22, 2016, Defendant Brasda moved the Court to reduce his

sentence under 18 U.S.C. § 3582(c)(2) and Amendment 794 to the United States

Sentencing Guidelines. Brasda is a federal prisoner proceeding pro se.

      The Court sentenced Brasda on March 25, 2015. He did not appeal. His

sentence became final when his time to appeal expired on April 8, 2015. See

Griffith v. Kentucky, 479 U.S. 314, 321 n.6 (1987).

      The Sentencing Commission amended the commentary to U.S.S.G. § 3B1.2

on November 1, 2015, to broaden the circumstances that could support a

downward adjustment for a defendant who plays a minor role in the offense. See

U.S.S.G. § 3B1.2 Application Note 3 (Nov. 1, 2015). Brasda asks the Court to re-

sentence him under the new commentary with a minor role reduction.

      Amendment 794 applies to defendants whose sentences were not yet final

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when the amendment was enacted on November 1, 2015. See United States v.

Quintero-Leyva, 823 F.3d 519, 521 (9th Cir. 2016). The Quintero court pointed

out in a footnote that the case “did not present the issue of whether, under the

Amendment, a defendant who has exhausted his direct appeal can move to reopen

sentencing proceedings.” The Quintero court declined to reach this issue. Id. at

521 n.1. Brasda now presents this issue.

      18 U.S.C. § 3582(c)(2) and U.S.S.G. § 1B1.10 come closer to addressing

this issue. Section 3582(c)(2) authorizes a court to reopen a final sentence “based

on a sentencing range that has subsequently been lowered” only “if such a

reduction is consistent with applicable policy statements issued by the Sentencing

Commission.” The Commission’s policy statement regarding sentence reductions

under § 3582(c)(2), can be found in U.S.S.G. § 1B1.10. The Commission has not

included Amendment 794 in the very small group of “covered amendments” that

are effective retroactively to sentences that are final. See U.S.S.G. § 1B1.10(a)(1),

(d) (Nov. 1, 2015). The Commission has not explicitly excluded Amendment 794.

      It appears that some ambiguity exists whether a reduction for Brasda, whose

sentence became final more than six months before Amendment 794 was enacted,

would be consistent with the applicable policy statement in U.S.S.C. § 1B1.10(d).

A reduction that comports with the policy statement could be authorized by 18

U.S.C. § 3582(c)(2).

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        Accordingly, IT IS HEREBY ORDERED that the government file a

response with the Court concerning Brasda’s motion to reduce the sentence (Doc.

824).

        DATED this 13th day of September, 2016.




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